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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           MCALLEN DIVISION

MARIA RENDON VALE                          §
Plaintiff,                                 §
                                           §
v.                                         §       CIVIL ACTION NO. ______
                                           §            JURY DEMANDED
                                           §
COMPANION PROPERTY AND                     §
CASUALTY INSURANCE                         §
COMPANY                                    §
Defendant                                  §



   COMPANION PROPERTY AND CASUALTY INSURANCE COMPANY’S
                         NOTICE OF REMOVAL
________________________________________________________________________

TO THE HONORABLE COURT:

        Pursuant to 28 U.S.C. §§ 1332(a)(1), 1441 and 1446, Defendant Companion

Property and Casualty Insurance Company in Cause No. C-8909-14-B pending in the 93rd

Judicial District Court, Hidalgo County, Texas, files this Notice of Removal from that

court to the United States District Court for the Southern District of Texas, McAllen

Division, on the basis of diversity of citizenship and amount in controversy and

respectfully shows:

                                     I.
                            FACTUAL BACKGROUND

        1.1   On or about December 30, 2014 Plaintiff filed her Original Petition in the

matter styled Maria Rendon Vale v. Companion Property and Casualty Insurance

Company, Cause No. C-8909-14-B pending in the 93rd Judicial District Court, Hidalgo

County, Texas. Therein, Plaintiff made a claim for damages to her home at 1222 W.


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Sprague St., Edinburg, Texas 78539, under a homeowner’s insurance policy issued by

Defendant.    Significantly, Defendant Companion Property and Casualty Insurance

Company is a foreign entity with its principal place of business in South Carolina.

       1.2     Plaintiff served Defendant Companion Property and Casualty Insurance

Company with her Original Petition and process on January 16, 2015.

       1.3     Simultaneously with filing of this notice of removal, attached hereto as

Exhibit “A” is the Index of Matters Being Filed. A copy of the Hidalgo County District

Clerk’s file for their case is attached as Exhibit “B”, which includes true and correct

copies of all executed process, pleadings and orders. Attached hereto as Exhibit “C” is

the Designation of Counsel. Attached hereto as Exhibit “D” is the affidavit of R. Travis

Miller. Attached to the affidavit of R. Travis Miller as Exhibit “1” is Plaintiff’s demand

letter of January 6, 2015.

                                           II.
                                   BASIS FOR REMOVAL

       2.1     Removal is proper based upon diversity of citizenship under 28 U.S.C.

§§1332(a)(1), 1441(a), and 1446.

       2.2     Plaintiff Maria Rendon Vale is, and was at the time the lawsuit was filed, a

resident of the State of Texas.

       2.3     Defendant Companion Property and Casualty Insurance Company is

incorporated, and has its principal place of business, in South Carolina. Accordingly,

Companion Property and Casualty Insurance Company is a citizen of the State of South

Carolina.




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       A. Because Defendant is a Foreign Citizen, there is Complete Diversity in this
          Case.

       2.4    It is undisputed that Plaintiff is a citizen of Texas. Because the defendant

in this case, Companion Property and Casualty Insurance Company, is a foreign

defendant, there is complete diversity in this case, making removal appropriate. See 28

U.S.C. §§1332(a)(1), 1441(a), and 1446.

       2.5    Companion Property and Casualty Insurance Company is incorporated and

has its principal place of business, in South Carolina, not Texas.          Accordingly,

Companion Property and Casualty Insurance Company is a citizen of the State of South

Carolina.

       2.6    Because there is complete diversity, removal is proper based upon

diversity of citizenship under 28 U.S.C. §§1332(a)(1), 1441(a), and 1446.

       B. The Amount in Controversy Exceeds the Jurisdictional Requirements for
          Subject Matter Jurisdiction

       2.7    Federal courts have subject matter jurisdiction over actions between

citizens of different states in which the amount in controversy exceeds $75,000. 28

U.S.C. § 1332(a)(1); Gebbia v. Wal-Mart Stores, Inc., 233 F.3d 880, 882 (5th Cir. 2000).

Generally, an amount in controversy for the purposes of establishing federal jurisdiction

is determined by the plaintiff’s complaint. De Aguilar v. Boeing Co., 47 F.3d 1404,

1411-12 (5th Cir. 1995).     However, a plaintiff’s written demand letter constitutes

evidence of the amount in controversy. Liberty Surplus Ins. Corp. v. Slick Willie’s of

America, 2007 WL 1795860 (S.D. Tex. 2007); see also King v. Ameriprise Fin. Svcs.,

Inc., 2009 WL 1767641, *3-4 (S.D. Tex. 2009); Cronin v. State Farm Lloyds, 2008 WL




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4649653, *3 (S.D. Tex. 2008) (“The Fifth Circuit has looked to pre-suit demand letters as

evidence of the amount in controversy”).

       2.8     Plaintiff’s claims are centered on the alleged failure to pay the full

proceeds of her insurance policy necessary to make repairs to her property. She seeks

recovery of actual damages, treble damages, statutory penalties, punitive damages,

attorney’s fees, and prejudgment and post-judgment interest. See Plaintiff’s Original

Petition, p. 14, ¶¶ XII. Additionally, in a demand letter of December 2, 2014, Plaintiff

seeks damages of $26,545.57, which includes $17,997.68 in economic damages, $3,239

in “18% Interest” and $5,309.31 in Attorney’s Fees. See Exhibit D, Affidavit of R.

Travis Miller and Exhibit 1 attached thereto. The demand letter also indicates Plaintiff

will seek treble damages for the economic damages, which brings the total demand to

$62,541.93. Based on Plaintiff’s future attorney’s fees together with her prayer for

punitive damages, this clearly demonstrates that the amount in controversy in Plaintiff’s

case exceeds the jurisdictional requirements.

                                  III.
                 THE REMOVAL IS PROCEDURALLY CORRECT

       3.1     Companion Property and Casualty Insurance Company files this notice of

removal within the 30-day time period required by 28 U.S.C. § 1446(b).

       3.2     Venue is proper in this District and Division under 28 U.S.C. § 1446(a)

because this District and Division include the county in which the state action has been

pending and because a substantial part of the events giving rise to Plaintiff’s claims

allegedly occurred in this District and Division.




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        3.3     Pursuant to 28 U.S.C. § 1446(d), promptly after Companion Property and

Casualty Insurance Company files this Notice, written notice of the filing will be given to

Plaintiff, the adverse party.

        3.4     Pursuant to 28 U.S.C. § 1446(d), a true and correct copy of this Notice of

Removal will be filed with the Clerk of the Hidalgo County District Court, promptly after

Companion Property and Casualty Insurance Company files this Notice.

                                         IV.
                                     CONCLUSION

        4.1     Based upon the foregoing, the exhibits submitted in support of this

Removal and other documents filed contemporaneously with this Notice of Removal and

fully incorporated herein, Defendant Companion Property and Casualty Insurance

Company hereby removes this case to this Court for trial and determination.


                                                 Respectfully submitted,


                                                 By:    /s/Thomas F. Nye
                                                 Thomas F. Nye
                                                 State Bar No. 15154025
                                                 Southern Dist. No. 7952
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                                             ATTORNEYS FOR DEFENDANT
                                             COMPANION PROPERTY AND
                                             CASUALTY INSURANCE
                                             COMPANY


                          CERTIFICATE OF SERVICE

       I certify that on February 16, 2015, a copy of Defendant Companion Property
and Casualty Insurance Company’s Notice of Removal was electronically filed on the
CM/ECF system, and will be served on the following attorney in charge for Plaintiff
Maria Rendon Vale:

Attorneys for Plaintiff
Aloysius Peter Thaddeus, Jr.
Pape Malick Djiba
Vicente Gonzalez
V. Gonzalez & Associates, P.C.
121 N. 10th Street
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                                                /s/Thomas F. Nye
                                             Thomas F. Nye




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